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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

ABIOMED, INC. and
ABIOMED EUROPE GmbH,
       Plaintiffs and Counterclaim Defendants,
                                                                  No. 23-cv-10087-DJC
               v.

ENMODES GmbH and
TIM KAUFMANN,
     Defendants and Counterclaim Plaintiffs.




 ABIOMED’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS REPLY IN
SUPPORT OF ITS MOTION TO DISMISS CERTAIN AMENDED COUNTERCLAIMS
  FOR FAILURE TO STATE A CLAIM AND FOR LACK OF SUBJECT MATTER
                          JURISDICTION

               Plaintiffs and Counterclaim-Defendants Abiomed, Inc. and Abiomed Europe

GmbH (collectively “Abiomed”) request that this Court take judicial notice, pursuant to Federal

Rule of Evidence 201, of the following documents in consideration of Abiomed’s concurrently

filed Reply in Support of Its Motion to Dismiss Certain Amended Counterclaims for Failure To

State a Claim and for Lack of Subject Matter Jurisdiction:

       1. Excerpts of BGH, NJW 2020, 1587. A true and correct copy of BGH, NJW 2020,

           1587 and a certified English translation of excerpts of that decision are attached as

           Exhibit 48 to the Declaration of Jonathan D. Mooney in Support of Abiomed’s Reply

           in Support of Its Motion to Dismiss Certain Amended Counterclaims for Failure to

           State a Claim and for Lack of Subject Matter Jurisdiction.

       2. Excerpts of BGH NJW 2016, 1584. A true and correct copy of BGH NJW 2016,

           1584, and a certified English translation of excerpts of that decision are attached as

           Exhibit 49 to the Declaration of Jonathan D. Mooney in Support of Abiomed’s Reply
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   in Support of Its Motion to Dismiss Certain Amended Counterclaims for Failure to

   State a Claim and for Lack of Subject Matter Jurisdiction.

3. Excerpt of the English Translation of the German Civil Code (“BGB”). A true and

   correct copy of an excerpt of the English translation of the BGB found on the website

   of the German Federal Ministry of Justice is attached as Exhibit 50 to the Declaration

   of Jonathan Mooney in Support of Abiomed’s Reply in Support of Its Motion to

   Dismiss Certain Amended Counterclaims for Failure to State a Claim and for Lack of

   Subject Matter Jurisdiction.

4. Excerpts of BGH, NJW 1967, 2012. A true and correct copy of BGH, NJW 1967,

   2012 and a certified English translation of that decision are attached as Exhibit 51 to

   the Declaration of Jonathan D. Mooney in Support of Abiomed’s Reply in Support of

   Its Motion to Dismiss Certain Amended Counterclaims for Failure to State a Claim

   and for Lack of Subject Matter Jurisdiction.

5. Excerpts of BGH, dated 21. 11. 1953 - VI ZR 91/52. A true and correct copy of

   BGH, dated 21. 11. 1953 - VI ZR 91/52 and a certified English translation of that

   decision are attached as Exhibit 52 to the Declaration of Jonathan D. Mooney in

   Support of Abiomed’s Reply in Support of Its Motion to Dismiss Certain Amended

   Counterclaims for Failure to State a Claim and for Lack of Subject Matter

   Jurisdiction.

6. Excerpts of BGH, dated 27.04.1999 - KZR 54/97. A true and correct copy of BGH,

   dated 27.04.1999 - KZR 54/97 and a certified English translation of excerpts of that

   decision are attached as Exhibit 53 to the Declaration of Jonathan D. Mooney in

   Support of Abiomed’s Reply in Support of Its Motion to Dismiss Certain Amended



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            Counterclaims for Failure to State a Claim and for Lack of Subject Matter

            Jurisdiction.

        7. Declaration of Prof. Peter Chrocziel. A true and correct copy of the Declaration of

            Peter Chrocziel, dated April 29, 2024, is attached as Exhibit 54 to the Declaration of

            Jonathan D. Mooney in Support of Abiomed’s Reply in Support of Its Motion to

            Dismiss Certain Amended Counterclaims for Failure to State a Claim and for Lack of

            Subject Matter Jurisdiction.

                                           DISCUSSION

                Judicial notice is appropriate for adjudicative facts capable of accurate and ready

determination by resort to sources whose accuracy cannot reasonably be questioned. Fed. R.

Evid. 201(b)(2). A court “must take judicial notice if a party requests it and the court is supplied

with the necessary information”. Fed. R. Evid. 201(c)(2). Applying Rule 201’s standard, when

considering a motion to dismiss, courts take judicial notice of “documents the authenticity of

which are not disputed by the parties; . . . official public records; . . . documents central to the

plaintiffs’ claim; or . . . documents sufficiently referred to in the complaint”. See Gargano v.

Liberty Intern. Underwriters, Inc., 572 F.3d 45, 48, n.1 (1st Cir. 2009).

                Judicial notice is appropriate for sources of German law (Exhibits 48–53). These

documents include German statutes and German court opinions. Under Massachusetts choice-

of-law rules, a court “shall[] take judicial notice of [foreign law] whenever the same shall be

material”. Mass. Gen. Laws ch. 233, § 70; see Dicker v. Klein, 277 N.E.2d 514, 516 (Mass.

1972) (taking judicial notice of, and applying, the law of the Bahamas). Here, German law is

material because it governs many of the Counterclaims, as explained in Abiomed’s




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Memorandum in Support of the Motion to Dismiss Various Counterclaims for Failure to State a

Claim (D. 101).

               Moreover, the Court may take judicial notice of expert declarations (Exhibit 54).

“In determining foreign law, the court may consider any relevant material or source, including

testimony, whether or not submitted by a party or admissible under the Federal Rules of

Evidence.” Fed. R. Civ. P. § 44.1. Accordingly, judicial notice is also appropriate for

declarations of experts learned in foreign law. See Silica Tech, L.L.C. v. J-Fiber, GmbH, No.

CIV A 06-10293-WGY, 2009 WL 2579432, at *10 (D. Mass. Aug. 19, 2009) (“Massachusetts

law allows the court to take judicial notice of the laws of a foreign country . . . Expert testimony

provides another means to determine the substance of foreign law.” (citations omitted)); see also

CDM Smith Inc. v. Atasi, 594 F. Supp. 3d 246, 255 (D. Mass. 2022) (“Insofar as the affidavits

help with these determinations of foreign law, they are admissible under Rule 44.1.”). Here, the

expert declaration is relevant because the expert opines on matters of German law central to

resolving whether Defendants have pleaded the elements of offenses under German law.

               For the foregoing reasons, Abiomed respectfully requests that this Court take

judicial notice of the Exhibits attached to the Declaration of Jonathan Mooney in Support of

Plaintiffs’ Reply in Support of Their Motion to Dismiss Certain Amended Counterclaims for

Failure to State a Claim and for Lack of Subject Matter Jurisdiction.




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Dated: May 7, 2024                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2024, copies of the foregoing were caused to be served

upon the following in the manner indicated:

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